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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________  DistrictofofCalifornia
                                                       Central District      __________

                      Andre McClelland                                  )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 2:19-cv-06755
                                                                        )
           Los Angeles County; (see attached)
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION
                                           Los Angeles County; Deputy Medina; Deputy Roe; Deputy Cervantes; Deputy Juarez;
To: (Defendant’s name and address) OSJ Enforcement Officer Gorman; Does 1 througn 100, inclusive.

                                           500 W. Temple Street, #383
                                           Los Angeles, CA 90012




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Office of J. Blacknell
                                           Jovan Blacknell, Esq.
                                           200 Corporate Pointe, suite 495
                                           Culver City, CA 90230



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
Case
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